
376 Pa. 463 (1954)
Lowengrub, Appellant,
v.
Meislin.
Supreme Court of Pennsylvania.
Argued November 23, 1953.
March 22, 1954.
Before STERN, C.J., STEARNE, JONES, CHIDSEY, MUSMANNO and ARNOLD, JJ.
*470 Harry Shapiro, with him Butz, Hudders, Tallman &amp; Rupp, for appellants.
E.G. Scoblionko, with him Scoblionko &amp; Frank, for appellees.
OPINION PER CURIAM, March 22, 1954:
The decree is affirmed on the opinion of President Judge HENNINGER. Costs to be paid by appellants.
